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                      IN   THE    UNITED         STATES    DISTRICT     COURT


                               FOR    THE     DISTRICT      OF MONTANA


                                         MISSOULA        DIVISION


           WILLIAM         HAGERTY   and JEANNETTE
           HAGERTY       husband   and wife                           Cause   No
                                                                      CV-99-116-M-DWM
                          Plaintiffs

                 vs


           W.R   GRACE       CO -Conn
           Connecticut      corporation             WR
           GRACE      CO          Delaware
           corporation W.R GRACE      a/k/a
           GRACE    an association of
     10    business   entities MONTANA
           VERMICULITE   COMPANY    Montana
     11    corporation  dissolved BENITA
           LOVICK Personal   Representative
    12     for the ESTATE  OF EARL      LOVICK
           DECEASED      and     DOES     I-IV
    13
                         Defendants
    14
           ______________________________________

    15


    16                                  VIDEO DEPOSITION

    17                                              OF


    18                                WILLIAM             HAGERTY


    19                      On       Behalf      of the     Plaintiffs

    20
                                 Taken      at   the  Offices of
    21                     Hedman        Asa       Gilman Reporting
                                         947     South Main
    22                             Kalispell Montana
                               Wednesday January  12                  2000
    23                                       1019      a.m

    24

              Reported   by Debra                 Hedman RPR RMR and Notary
    25        Public   for the State              of Montana Flathead County
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                                                                                                                  17




                           What        do you       mean        it    was       wet

                           well         in any       case            like       when       they     would


           blast    and    there        was    any        sign       of    dust           they    would


           immediately           turn    the       water        on    and       sprinkle


           everything       down

                           How     long       did    you        stay       in       Butte

                           Until        1946

                           And     then       what       happened              in    1946

                           We    moved              to     --    Well                was                     to
                                              up                                            suppose

     10    come    up    to Hungry        Horse          Dam     and       start          that    job    in


     11    1946     and    the    union        wouldnt               accept          my    transfer           so


     12    we   decided     to     go up       to    Libby

     13                    Why    did     you       chose        to       go    to    Libby

     14                    Jeannettes               folks        were          living       there       at    the


     15    time     and         knew     that       Zonolite              was       expanding        rapidly


     16    there    so      got          job       with     Zonolite

    17                     Do    you     remember          how        long          you    worked       for


    18     Zonolite

    19                     Two    years        on    the        regular             job

    20                     Do    you     remember          the        dates          of    that


    21     approximately

    22                     The    dates

    23                     Do    you     remember          the        dates          that   you     worked


    24    at    Zonolite         that     two       years

    25                     1946    and        47         and          --       And    probably          the
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                                                                                                         18




           winter     of    48     and        49     at    different           jobs

                            After       you     left       Zonolite           what       did     you    do

                                 went     to work          for          Neils        Lumber


           Company

                            What       kind     of work          did    you     do    for          Neils

                            Operating           cranes          and    power       shovels

                            Did    you       ever     own       your    own     company

                            Yes        that     was       just    briefly          in between


           Zonolite        and when             went       to    work     for            Neils

    10                      What       kind     of    company          was    that

    11                      It    was     an    excavating             company            We     had


    12     crane    and          shovel        and         couple       of    dump       trucks

    13                      How    big       was     your       company

    14                      Just       my partner           and         operated          it



    15     ourselves

    16                      How    long        did    you       stay    and    work       at


    17          Neils

    18                      Twenty-four              years

    19                     Did     you       eventually           get    promoted

    20                     Yes

    21                     What        was     your promotion                to

    22                     After        about        four       years    operating             cranes


    23    and    shovels         and    so     forth             was    in charge           of    the   --


    24    they     were    expanding            rapidly          and    they       had    lots     of


    25    cranes     working           and         was    in     charge       of     those       and
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                                                                                                                20




                              Well        that        was      probably           1980

                              Why    did       you     eventually             retire

                                   dont        know               just       --   just        got    tired      of


           it          guess              just        had      enough

                              Okay         And        have       you    lived      in Libby           from


           the    time     that      you       moved        there       in    1946       --


                              Yes

                              --    through          your        retirement          now

                              Yes

     10                            want    to    talk          now     specifically             about       the


    11     time    that       you    worked          at     Zonolite              Why     did       you    go   to


    12     work    at    zonolite

    13                        Well        we    went        up    to visit         the        wifes

    14     family       and         understood              that       Zonolite         was     expanding


    15     and    needed        some      help         so         got        job     on       running       one


    16     of    the    power       shovels

    17                        Was    your       wifes            family      associated              with


    18     Zonolite

    19                        Were     they

    20                        Yes

    21                        No

    22                        Do    you    remember              who    hired      you

    23                        Carlton          Jouquin

    24                        Did    you       have       to     interview         or     apply       to    work


    25     there
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                                                                                                          21




                            Did         what

                            Did    you    have       to interview                or apply        to work


           there

                            Yes           interviewed               with    John       Baggs        the


           line     foreman

                            And    was    he    your          supervisor

                            Yes

                            You    mentioned             that       you    were         shovel


           operator          Can    you     tell us            what       that    job     consisted


     10    of

     11                     It    was    mostly          loading          ore    into     dump      trucks


     12    that     would    haul       that    ore       to the          mill    or    to    the     waste


     13    dump      whichever

     14                     And    were    you       in the          pit

     15                     Yes

     16                     Im going           to    show       you       this    exhibit             Its

     17    matked     2-8         And    again           if         can    have    you       hold     that


     18    up    for the     camera       real       briefly

     19                     Deponent           complied

    20                      Is    that    the       shovel

    21                      Thats        the    first          shovel            operated        there


    22     for    Zonolite

    23                      Im going           to show          you       the    second       one

    24     which     is   marked        2-7      And          did    you    also       operate        that


    25     shovel         Can     you    show       it    to    the       camera        too      as
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                                                                                                            22




           youre        looking        at    it

                              Yes          Thats        the    second        one    that


           operated

                              Okay          Thank       you         Now           see    on


           Exhibit       2-8       there     that       the    shovel        is    dumping       into


           the    truck

                              Yes

                              Is     that    the       work    that    youdid

                              Yes      thats           the    ore

     10                       Was     it    dusty             You    can     put    the       photo


    13     down         Was    it    dusty        when       you    loaded        the    trucks

    12                        Oh      in the       summertime           it    was         Yes

    13                        why    was     that

    14                        And    weather           like    that     it    was       dusty         The


    15     trucks       operating           in    the    pit        running        around       the       pit

    16     would       kick    up          lot    of dust          in the     dry       weather

    17                        When     you       were    operating           the    shovel       and


    18     loading       the       trucks         did    you       knowwhat         you       were


    19     loading

    20                        well         yes         zonolite       --     or     vermiculite


    21     ore    is    all         really        knew

    22                        Did    you     tell       the    driver        what       you    were

    23     loading       his       truck     with

    24                        Yes     between           the    waste       and     the    ore        we


    25     would       have    to    tell        the    driver
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                                                                                                       23




                             Did    what       you    tell     the      driver     determine


           where      the    driver       went       with    his     load

                             Yes

                             Did    you       know    what     you      were    loading       by    the


           actual     names        of    the    minerals

                                 knew     the       difference          between       vermiculite


           and   biotite            Other       than       that          didnt        know


           anything         about       the    ore

                            Do     you    remember          knowing       about       asbestos

    10                      Oh yes              We    didnt        know     anything         about


    11     it      Just     our     curiosity              when    you    would       see      piece

    12     of    it

    13                      Could        you    tell       the biotite          from the


    14     vermiculite           from the           asbestos       when     you    looked      at


    15     it--

    16                      Oh      yes

    17                       --inthepit
    18                      Different           color        yes

    19                      And     how       did    you    know     that

    20                      The     vermiculite             was    an    entirely        different


    21     color      gray       mostly        and    brown        and    the     biotite      was


    22     jet   black      and     hard        and    the    asbestos          was    white

    23                      And     how       did    you    know     what      those     minerals


    24    were        Had    you     been       instructed           on what       the      minerals


    25    looked      like
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                                                                                                          24




                            The      supervisor           told     me       so      would       know      if


           they    had    an     order       for straight           vermiculite                we    would


           move    to    that     part      of     the    pit       If      they    wanted


           biotite        that       was    in another           part       of    the    pit

                           Was       that    John        Baggs

                           Yes

                           And          assume       that    was       at    the    time       you

           started       working

                           Yes

    10                     Did       you    receive        any     other         training       when


    11     you    started       at    Zonolite             Any     safety         training          or

    12     anything       like       that

    13                     No

    14                     As     the      shovel        operator           were    you    the


    15    person     who    was       responsible           for deciding                what    was      ore


    16    and     what    was     waste

    17                     Yes

    18                     So     nobody      else        told     the      truck drivers

    19    whether        they     should      go    to     the     dump      or


    20                     No        it was      the      shovel       operators

    21    responsibility

    22                     In     making      your        decisions          about       whether


    23    something        was       waste    or    ore      you       followed          the


    24    instructions            that      John    Baggs        had     given      you

    25                     Yes
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                                                                                                                 25




                               Did       the    minerals          appear       --    Did       they    show


           up     in    the     side      of    the    face       differently

                               Yes

                               What       do you       remember          about       that

                               The       vermiculite          was       shiny       and very                very


           slippery             The       vermiculite             ore    was        And        thewaste

           ore    was        more     like      dirt         It    had       vermiculite          in    it

           but     --


                               Do    you       remember       how       big    some       of    the


    10     different           deposits          were         Was       one    mineral          more


    11     common


    12                         Oh yes            the    vermiculite             was       more    common


    13     than     anything             else

    14                         What       do    you    remember          about       the       asbestos


    15     when     you       were       loading       the    ore

    16                         Well        all         remember          about       it    was    my

    17     curiosity1           when            first     saw      it    there       and       wondered


    18     what        the    white       stuff       was         And    they       never       gave    us


    19     any    intructions                  about    what       to do       with       it     so    it


    20     just     went       in with          the    waste       mostly           And          remember


    21     asking        what       it    was     and    they       said       it   was        just


    22     asbestos          waste

    23                         Did       the    asbestos          appear       more       commonly          in


    24     the    vermiculite              or    on    its    own       or    do you       remember


    25    anything            about       that
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                                                                                                                26




                              No          dont        remember           how      it    was


           distributed                            the      stuff         but      it    was       --
                                   through

                              So    you     werent          instructed             to do          anything

           different          when       you    came       across        an asbestos               deposit

                              No     just       throw       it     in    the      waste       or       whatever


           was     handy

                              Okay          Did      you    know        anything         more          about


           the    minerals          other       than       their names             and       what       they


           looked       like

     10                       No

     11                       Did    you       know     that       asbestos            was         hazardous


     12    mineral

     13                       No

     14                       Now        after       you    were          shovel         operator          for


     15    those       two    years       that       you    mentioned             before           did    you

     16    do    any    other       kind       of work        at    Zonolite

     17                            worked       in the        mill in          the      wintertime

                              And how          did    that     happen

     19                       After            quit     running         shovel          and       went

     20    into     partnership             for            on our       own       with Floyd

     21    Blackwell          --    Connie        Blackwell                                        we    had
                                                                        my     partner

     22    chance       to    go    up    there       and    work       inside          in    the


     23    wintertime          in    the       mill     for        couple         months           there       in


     24    the    cold       weather            So    thatrs       how       we   got        in    there

     25                       Did    either          you    or your          partner          know
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                                                                                                                 27




           somebody          at       Zonolite          that       helped        that       happened

                                Yes         Canton            Jouquin            He    got    us         job    in


           there       for      the     winter          months

                                So     it    was       temporary        work

                                Yes

                                And     this          was    right     after          you    stopped


           working       at       Zonolite             as       shovel        operator

                                Yes

                                Did     you       work        full    40-hour          work    weeks       when


     10    you    did      --


     11                         In     the       mill yes

     12                         All     total           can     you    guess          how    many       weeks    or


     13    months       you       would          have       done     that     kind      of    work

     14                         Probably              six or       seven      weeks         for two


     15    winters

     16                         Can     you       describe           more     specifically               the


     17    work     that        you     did       in    the     mill

     18                         The     ore       was       coming     in on            conveyor          belt

     19    and    it was          our       responsibility              to       keep       that          it


     20    would       fall       off       of    the       conveyor        belt       onto    the       floor

     21    and    we    would         pick        up    those        pieces       of    ore    and      put


     22    them     back        on    the        conveyor          belt          And    the    dust       was


     23    coming       in      from        the       other    parts        of    the       mill    and    it


     24    was    our    responsibility                      to keep        that       swept       up    and    we


    25     just    put       it      back        on    the    belt
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                                                                                                            29




                             Yes

                             Do    you     remember          whether          that      kind   of     work


           was    dusty

                             Oh      yes

                             What     do    you       remember          about       the      dust

                                                  we       touched          had   coating       --
                             Everything

           thick       coating       of    dust            And        like          remember


           distinctly          the    stairways             and       the    ladders         you     had    to


           brush       the   dust     of        to go        from one         floor       to another


     10    for any       reason           which       we    very       seldom       did      but     --    And


     11    then    the       floor where          we       worked       there        there     was        dust


     12    coming      in    from the           other       parts       of    the    mill and         we


     13    had    to   sweep       that     up

     14                      Could        you    see       dust       in the      air

     15                      Oh yes

     16                      How     thick       was       the    dust       on   the     floor

     11                      Oh      up    to    an    inch

     18                      And     was    there            new       layer      of dust       every

     19    day
     20                      Yes

     21                      Do    you     remember          seeing          dust    come      out    of


     22    the    mill        And     if    you       want       --


     23                      Yes

     24                      --    you     can    use       that      exhibit

     25                      Yes            remember             seeing       that      on    the    other
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                                                                                                        30




           side    of     the   mill       as    well        but    --    this     side   and     that


           side    coming         out            didnt        realize       what     it   was      but


           you    could      see     those       coming       out    those       blowers

                             Thank        you         Did    you    ever    work     with    any      of


           the    other      workers         in the         mill

                             No

                             Did     you    work       with    your.partner

                             7ust     my    partner

                             Did     you    ever       talk    with       anyone     about      the


     10    dust

     11                      No

     12                      When     you       were    hired       at    Zonolite        did     the


     13    company      warn        you    that       exposure       to    the     dust   could       be


     14    harmful      to      you

     15                      No

     16                      When     you       were    hired       at    Zonolite        did     the


     17    company      warn       you     that       exposure       to asbestos          could       be


     18    harmful      to      you

     19                      No

     20                      When     you    were       hired       at    Zonolite        did   any

     21    of    the   other       workers        warn       you    about    the     dust    or the


     22    asbestos

     23                      No

     24                      Did     you    ever       see    any    signs       about    the


     25    hazards      of    asbestos           or    the    dust
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                                                                                                        31




                              No

                              Did    your     supervisors            ever     warn    you    the


           dust       could     harm      you

                              No

                              Do    you     remember     other        workers        talking

           about       the    dust     when     you    worked        there

                              Yes      but    just     that     it    was     annoying       mostly

                              Did    you     or any     of    the     other     workers          ever


           complain          about     the    dust

     10                       No

     11                       When     you    worked     in     the      mill    on


     12    temporary          basis        were   you    ever        warned     about       the    dust


     13    or    asbestos

     14                       No

     15                       At    the    time   that       you     worked     at    Zonolite

     16    did    you    know       that     asbestos        was     hazardous

     17                       No

     18                       Were     you    aware     when       you   worked       at    Zonolite


     19    that     other      workers        were    developing            illnesses        from


     20    the    dust

     21                       No

     22                                MR     SEPICOFF         till      object

     23    BY    MR     l.AcEY


     24                       Did    you     belong     to    the     union     when       you

     25    worked       at    Zonolite
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                                                                                                                 37




                              Yes

                              How    can        you       tell

                              The    things           that            am    unable          to    do anymore


                just couldnt               --         couldn1t             do    the       things         had


           been       doing    up    until           that       time

                              Did    you        eventually             gO       see         lung


           specialist

                              Yes

                              Who    did        you       go    see

     10                       Dr     Whitehouse

     11                       Whats         your          understanding                about


     12    Dr     Whitehouses               specialty

     13                            understand he                 is    an expert             in his       field


     14    of    --    What    do    you        call       it         --    pull       --    pulmonary

     15    something          or    rather           there

     16                       Thats         good          enough            Do       you    remember       when


     17    you    first went          to        go    see       Dr     Whitehouse

     18                       Probably                year       and            half       ago

     19                       Do    you     recall             the    tests          that


     20    Dr     Whitehouse          did        on       you

     21                       He            me       --    They                 me    in    one    of    those
                                    put                               put

     22    breather       machines               those         plastic           --    they       have      name


     23    for it                  bubble        or       something                  Put    me    in    there


     24    and    took    breathing tests                       for about             an    hour

     25                       Did    you     have          an x-ray
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                                                                                                            38




                            And       then         had    an    x-ray

                            Did       you    discuss          the    results       of    those    tests


           with    Dr     Whitehouse

                            Yes

                           After        having          that    discussion          with       him

           what    was    your        understanding             about       what    was       causing


           your    breathing           problems

                            He    took       me    in    the    room       there    and       showed        me


           the              and       he pointed          out       that    it   was     asbestos           in
                  x-ray

     10    my lungs

     11                    And        you    saw    that       on    your    x-ray

     12                    Yes

     13                    Before           Dr     Whitehouse              had   any     of    your


     14    other    doctors           ever    told       you    that       you   had     an    asbestos


     15    problem

     16                    No

     17                    Do     you       have    an    understanding             about       what


     18    condition        the       asbestos          has    created       in..your         lungs2
     19                    Yes

     20                    What        do    you    understand             about    that

     21                    Just        the    fact       that       those    deposits          in there


     22    keep    me    from breathing                 freely        and    from       talking        to


     23    the    doctors        --    the    two       doctors        thats        what


     24    gathered       was     my    problem

     25                    Aside        from the          time       that    you    worked        at
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                                                                                                           39




           Zonolite            did     you      ever    work    with       asbestos       at    any

           other        time        in your      life

                               No

                               Did    Dr        Whitehouse          give    you    medication          for


           your    asbestos           problem

                               No

                               Did    he     give      you    any    inhalers       or

                               He     recommended            going    ahead       with    an    inhaler


           and    using        one    of     the    compressed            air ones        the    larger


     10    machine

     11                        Would       that     have      been         nebulizer

     12                        Yes

     13                        And    did       those    things       help       you

     14                        Yes

     15                        Have    you       noticed       that       your    breathing          has


     16    continued           to    get     worse      since       you    first    met       with


     17    Dr     Whitehouse

     18            .A          Yes         In    fact         had    to go       back    to    him

     19                        When    was       the    last    time       that    you    saw    him

     20                        It    would       have    been       about    November          1st

     21                        Did    you       have    more    tests       done    on    your       lungs


     22    then

     23                        Yes

     24                        Do    you     recall      whether          those    tests       showed


     25    that    your        asbestos          problem       was    getting       worse
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                                                                                                                           40




                                  Yes         he       said       it    definitely                was    worse

                                  Do     you       recall          having               pulmonary             function


           test        done

                                  Yes

                                  And       what        do    you       remember             about       that

                                  The       girls        that          gave    me       the       test    in    the


           breather           machine              there          said       that       my          from       their


           last        report            it       --         had       lost         considerable                amount


           of     my    breathing                capacity               the    test          showed            And       then


     10    Dr     Whitehouse                  took       another             x-ray           of    course

     11                           Did       you        have       any    special             procedures             done


     12    when        you    saw       Dr         Whitehouse                this       most       recent       time

     13                           What        was       the       last

     14                           Did       you        have       any    special             procedures             done


     15    when        you    went          to     see       Dr        Whitehouse             in November


     16                           No        just        the       breathing             test       and    the       x-rays

     17    and    he     found          something                 on    --    Do    you       want       me    to     go on


     18    with        that

     19                           Yes         please

     20                           ne    took        me       in again          and       pointed          out       on    the


     21    x-ray        that       there          was        something             on    the       lungs       there

     22    And    he     said          it     could          be         tumor           but       were        going       to


     23    have    to        check          into        it    further

     24                           And       did     you       undergo          more          tests       to    decide


     25    whether           it    was            tumor
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                                                                                                                   41




                               Yes        he    sent       me       over       to   Deaconess          Hospital


           and     they      put     me    in the          CAT        scan      there      and       took       some


            lab    tests       and    gave       me       an    intravenous               while       they       were


           doing        so

                               Wasitatumor

                               It    wasnt                tumor           it    was      fluid         Turned


           out     to    be

                               And    what       did       they        do      about      the    fluid


                               They       had    to go          in     my back           and    remove          that


     10    fluid

     11                        Did    you       understand                that that            was         serious


     12    problem

     13                        Yes

     14                        How    Could          you       tell

     15                        Well        all       the       doctors              talked       to    --



     16    Dr     Whitehouse              later                little          bit       and    the    doctor


     17    that    took        that       fluid       off           said       it   was         very


     18    important           thing       to    keep               close       check      on         He    said

     19    Youre         going       to    have       to have             this      done       periodically

     20    maybe        from    now       on         So    if       you     run     short       of    breath

     21    considerably              worse       than          it    is     now       well       get       in


     22    touch    with        us    and       we    will          have       to   do    this       over


     23    again        probably

     24                        Do    you       know       whether           that      fluid      on    your


     25    lungs    was        as         result          of    the       asbestos         in your          lungs
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                                                                                                               42




                               No          couldnt           say    that         Just        --    In


            talking       to    Dr        Whitehouse          later           thats        what     he


            said      that      it    was       probably       from       that

                               Have       you    discussed          with       Dr    Whitehouse               the


            future     course         that       your     asbestos            disease       is     going       to


           take

                               He    just       told    me    that       it    was   probably            going

           to get     worse          and    that          would      have       to    take        close


           check     on    it       and    when       my breathing             got    to    the     point


     10    where     it    was       necessary                would       come       in again


     11                      Have         you    talked       with       Dr     Whitehouse              or    any

     12    other     doctor          about       the    potential             need    to go        on


     13    oxygen     at       some       point

     14                      No

     15                      Oka            Would       you    say       that    you       have     been


     16    quite     healthy          for most          of    your       life

     17                      Yes

     18                      Have     .you      ever     been       over       weight

     19                      No

     20                      aave         you   ever     had       any   major        surgeries

     21                      Just               Yes          had    foot       surgery        from an


     22    injury     and           had     gallbladder             surgery

     23                      when         was   that     gallbladder             surgery

     24                      1965

     25                      And      bther       than       your    foot        you       havent            had
